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                       United States D i s t r i c t Court
                            D i s t r i c t of Massachusetts




United States of America,

               Plaintiff,

               V.



Edward J. Abell,      III,
                                                  Criminal Action No
               Defendant,                         17-10332-NMG


                     and


Nationwide Trust Company, FSB,

                     and


W2 Group 401(K) Plain,

               Garnishees.




                                MEMORANDUM & ORDER



GORTON,   J.


     Edward J. Abell, III C'Abell" or ''defendant") plead guilty

to eight counts of wire fraud and money laundering and was

sentenced by this Court to 97 months incarceration and three

years supervised release.            The Court also issued an Order of

Forfeiture for criminal restitution in the amount of $3,879,750

Inclusive of accrued interest and net of payments to date,

defendant currently owes $3,968,490.35 in restitution.




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      In July, 2019, this Court allowed the government's

application for a Writ of Garnishment of defendant's W2 Group

401 (K)   Plan   (^'the 401 (k) Account"), the approximate value of

which is $393,500.        Defendant objected that the government was

attempting to levy property that is exempt from forfeiture

pursuant to 18 U.S.C. § 3613(a)(1) and 26 U.S.C. § 6334.           In

October, 2019, defendant's wife,       Shilo Abell   C'Ms. Abell"),

filed a notice with the Court claiming an interest in the 401(k)

Account.     On January 16, 2020, this Court convened a garnishment

hearing to adjudicate defendant's objection and Ms. Abell's

competing claim.


      Pursuant to the Mandatory Victims Restitution Act,         the

government is responsible for enforcing restitution orders.

18 U.S.C.    §   3663A.   The Federal Debt Collection Procedure Act

(^'FDCPA") authorizes the government to utilize writs of

garnishment to enforce such orders. 28 U.S.C. § 3001 et seq.;

see also U.S. v. William,       648 F.3d 40, 49 (1st Cir. 2011).        The

FDCPA permits garnishment of property ^'in which the debtor has a

substantial nonexempt interest." 28 U.S.C. § 3205(a). Property

is exempt if it falls within certain enumerated statutory

exemptions from levy for delinquent federal taxes. 18 U.S.C.

§ 3613(c).       Here, none of those exemptions apply.




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        Defendant and Ms. Abell    (collectively,   ^'the Abells")   oppose

garnishment on the additional ground that Ms. Abell has a vested

interest in the 401(k) Account by virtue of her marriage to the

defendant.     The Abells submit that Massachusetts property law

compels equitable distribution of marital assets and, therefore,

Ms. Abell is entitled to an equitable portion of the funds in

the 401(k)    Account.



        The argument that Massachusetts property law precludes

garnishment of defendant's 401(k) Account is unavailing.

Persuasive caselaw indicates that the pre-divorce property

interest of an individual in her spouse's ERISA-qualified

retirement account is governed exclusively by federal law, not

state property law. See, e.g.. United States v. Novak, 476 F.3d

1041, 1061 (9th Cir. 2007)       (en banc)   (''Retirement plans covered

by ERISA . . . are governed exclusively by federal law.");

United States v. Beulke, 892 F. Supp. 2d 1176, 1180 (D.S.D.

2012)    ("Federal law, not state community property law,

determines whether a person has a 'property or a right to

property' interest in an ERISA-qualified pension plan.").                It is
undisputed that the Abells are still married.           In the absence of

a divorce decree or other qualifying domestic relations order,

state property law will not displace federal law with respect to




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a spouse's alleged claim to a 401(k) Account subject to a

criminal restitution order. See Beulke,         892 F. Supp. 2d at 1180.


        The government acquired a lien over the 401(k) Account as a

result of this Court's order of criminal restitution.           18 U.S.C.

§ 3613(c); see also Novak, 476 F.3d at 1061.           The rights

attached to the government's lien are dictated by the rights the

debtor himself enjoys with respect to the 401(k) Account

pursuant to ERISA. See United States v. Nat'1 Bank of Commerce,

472 U.S. 713, 725,      (1985); see also Beulke, 892 F. Supp. 2d at

1182.     Here, the defendant was entitled to receive, without

spousal consent, $393,500, the approximate total value of the

vested funds in his 401(k) Account, upon termination of his

employment.      The government is, therefore, entitled to garnish

the   same.



        Accordingly, neither the objection of defendant nor the

competing claim of Ms. Abell is sufficient to defeat the

government's Writ of Garnishment with respect to defendant's
401(k)    Account.




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                                     ORDER




       Pursuant to 28 U.S.C.      § 3205(c)(7),    the Garnishee,      W2 Group

401(K)   Plan,   shall disburse all funds held on behalf of the

defendant,     Edward J. Abell,    III, to:


      Clerk of Court, c/o United States District Court,
      One Courthouse Way, Suite 2300,
      Boston, MA 02110


       This Court further orders that payments of any taxes and/or

penalties resulting from the withdrawal of said funds are to be

paid directly from the funds prior to the balance being paid to

the   Clerk.




So ordered.




                                             Nathaniel   M.   Gorton
                                             United States District Judge




Dated January/7^ 2020




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